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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
     vs.                                   )   Case No. 4:18 CR 00847 NCC
                                           )
DUSTIN LOCKWOOD,                           )
                                           )
            Defendant.                     )


                                        ORDER

      The above-named defendant, having established the inability to retain private

counsel, being in need of counsel, and being entitled to the appointment of counsel under

the Criminal Justice Act, as amended, 18 U.S.C. § 3006(A),

      IT IS HEREBY ORDERED that the Federal Public Defender for this District is

appointed to represent the above-named defendant in this matter.


                                         /s/ Noelle C. Collins
                                         NOELLE C. COLLINS
                                         UNITED STATES MAGISTRATE JUDGE

Dated this 17th day of October, 2018.
